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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 United States of America, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.




 State of Colorado, et al.,

                               Plaintiffs,          Case No. 1:20-cv-03715-APM

 v.                                                 HON. AMIT P. MEHTA
 Google LLC,

                               Defendant.


               JOINT STATUS REPORT OF GOOGLE AND PERPLEXITY

       Pursuant to the Court’s January 21, 2025 minute order, Google and Perplexity

(collectively, the “Companies”) provide the following update with respect to Perplexity’s

compliance with Google’s subpoenas: Following additional conferrals, the Companies have

resolved their dispute with respect to search strings and custodians. The Companies have

likewise agreed that Perplexity will substantially complete its document production by Monday,

February 3, 2025.

Dated: January 21, 2025                       Respectfully submitted,

                                              By: /s/ John E. Schmidtlein
                                              John E. Schmidtlein (D.C. Bar No. 441261)

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